Case 3:04-cr-00206-HES-MCR Document 1098 Filed 11/01/06 Page 1 of 2 PageID 3131

                                                                                             FILED
                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA


                                                               Case No. 3:04-cr-206(S2)-J-2OMCR
 JAMAEL TYSON
                                          1

                                              ORDER

         On November 1,2006, Don Pashayan, Assistant United States Attorney, and the Defendant,

 JAMAEL TYSON, appeared in person and with his counsel, W. Charles Fletcher, for a hearing on

 the Superceding Petition for Warrant or Summons for Offender Under Supervised Release (Doc. No.

  1061, filed September 5,2006).

         The Defendant, having heretofore been convicted on January 3 1,2006, in Case No. 3:04-cr-

  206(S2)-J-20MCR, of offense charged, to wit: Use of a communication facility to facilitate the

  conspiracy to distribute cocaine and cocaine base, in violation of 21 U.S.C. 5 843(b), as charged in

  Count Seventeen of the Second Superceding Indictment; and was sentenced to be imprisoned for a

  term of 24 months; and was placed on supervised release for a term of one (1) year;

         And now the Probation Office of this Court reporting to the Court, and the Court finding that

  the Defendant violated the terms of said supervised release, all of which being considered,

         IT IS ORDERED that Defendant's supervision is reinstated upon the original terms and

  conditions, and he is released from custody.
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        DONE AND ORDERED at Jacksonville, Florida, this / x d a y of November, 2006.
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  Copies to:
  Don Pashayan, Esq.
  W. Charles Fletcher, Esq.
  United States Marshal (4)
  U. S. Bureau of Prisons
  U. S. Probation Office
